NC E NEs"M E m

l T AN Y T MI
K!MBERLY K. BULL, ) "~‘ v q
] a " 3 L}7
Plaintiff, ] ." §.j?is mm com y
) - ~ w 1
v- ) NO.QZ~._'QGQ._I_ ,\ __
j s _ _ in
GROUP LONG TERM DISABILITY )
PLAN POR TFE, INC., )
)
TFE,INC., )
]
and ]
J
UNUM LIFE INSURANCE COMPANY ]
OFAMERICA ]
]
Defendants. ]
QQMPI_.ALNJ;

Comes the Plaintiff Kimberly K. Bull, by and through counsel, and for her Complaint
against Defendants Group Long Term Disability Plan for TFE, lnc., and Unum Life lnsurance
Company of America, states and avers as follows:

1. The Plaintiff Kimberly K. Bull [hereinafter "Bull"] is a citizen and resident of
Anderson County, Tennessee.

2. The Defendant Group Long Term Disability Plan for TFE, lnc. [hereinafter
"Plan"] may be sued and served with process by serving its registered agent, TFE, Inc.,
1114 Ridgecrest Ave., North Augusta, SC 29841~3070, pursuant to 29 U.S.C. § 1132(d)[1).

3. The Defendant TFE, Inc. [hereinafter "TFE"], is the Plan Administrator and
may be Sued and served with process by serving its registered agent, TFE, Inc., 1114

Ridgecrest Ave., North Angusta, SC 29841-3070, pursuant to 29 U.S.C. § 1132[d)[1).

     
  

UB HGV -7 £n"§ 81 .?d
EXHIBIT "

»'.\_i_i

`~ ’, `. ,.
1 . ‘ "\f'f ."" -'\or-
%r , '\` """ '\,`.::"1

ge 1 of 17 Page|D #: 6

  

Case1:08-cV-00289-CLC-WBC Documentl |EIM`IZTIBTUS'

4. 'I`he Defendant Unum Life Insurance Company of America (hereinafter
"Unum"] is a foreign insurance company properly registered With the Tennessee Secretary
of State to conduct business in Tennessee and may be served through its registered agent
for service of process, CT Corporation, 800 S. Gay Street, Suite 2021, Knoxviile, TN 37929.

5. The Plaintiff Bull brings this action to recover benefits clue her for Long Term
Disability payments under the terms of the Plan pursuant to the provisions of the Employee
Retirement Income Security Act, 29 U.S.C. § 1001 et seq. {hereinafter "ERISA"], and
particularly 29 U.S.C. § 1132[a)[1][B).

6. ]urisdiction over plaintist claim is conferred on this Honorable Court
pursuant to 29 U.S.C. § 1132[€][1].

7. Venue over Plaintifi`s claim is conferred on this Honorable Court pursuant to
29 U.s.c. §1132(e)(2)_

8. The Plaintiff Bull is, and at all times relevant to this action was, a
"participant" in the Plan as defined by 29 U.S.C. § 1002(7].

9. The Defendant Plan is an "employee welfare benefit plan" as defined by 29
u.s.c. § 1002(1).

10. The Defendant Unum is a "party in interest“ as defined by 29 U.S.C. §
1002[14] [A} and a "named fiduciary" as defined by 29 U.S.C. § 1102[a] (2)(A] which has the
authority to control and manage the operation and administration of the plan pursuant to
29 u.s.c. § 1102(3)[1].

11. TFE, Inc. is a "party in interest" as dehned by 29 U.S.C. § 1002[14](€] and the

"adrninistrator" as defined by 29 U.S.C. § 1002(16] [A] and [B]. At all times relevant to this

Case 1:08-cV-00289-CLC-WBC Document 1-1 Filed 12/16/08 Pag-e 2 of 17 Page|D #: 7

Complaint, TFE, Inc. [hereinafter "TFE"] was the "employer" of Plaintiff Bull as defined by
29 U.s.c. §1002[5).

12. Bull was a Remote Handling Technician and was in good to excellent health
until july 25, 2007 when she became disabled by arthralgias/myalgias, degenerative disc
disease, GERD, among other afflictions.

13. Bull's symptoms progressed rapidly and caused her to have difficulty
standing and to lose her grip in her right hand.

14. Bulls employer, TFE, attempted to accommodate Plaintiff‘s medical
problems, nonetheless, Bull continued to suffer from her maladies and was unable to
continue to work.

15, Bull's last day of work for TFE was on ]uly 25, 2007, and after that date, Bull
received short term disability for a period of time.

16. On or about April 12, 2008, Bull's short~term disability expired, and Bull
subsequently filed a claim for long term disability benefits under the Plan.

17, On or about April 14, 2008, Unum denied Bull's long term disability benefits

18, On or about August 7, 2008, Unum denied Bull's appeal for long term
disability benefits under the Plan.

19. Unum has failed to provide long term disability benefits due Bull under the
Plan.

20. Unum, TFE and the Plan have failed to discharge its fiduciary duties with
respect to the Plan solely in the interest of plan participants as required by 29 U.S.C. §

1104(3)[1).

Case 1:08-cV-00289-CLC-WBC Document 1-1 Filed 12/16/08 Page 3 of 17 Page|D #: 8

21. Unum and TFE breached their fiduciary duties by failing to consider the
Social Security file of Mrs. Bull.

22. Defendants’ decision to deny Ms. Bull's long term disability benefits under
the Plan was arbitrary and Capricious. Further, in ignoring relevant informationl
Defendants denied Ms. Bull a full and fair review during the appeal process. fn addition,
Defendants had a financial incentive to find that Ms. Bull was capable of at least sedentary
work

23. Defendants have failed to provide long term disability benefits due Ms. Bull
under the Plan. in addition, Defendants made the determinations even though they had not
followed proper procedure under the policy - thus denying Ms. Bull her due process rights
under the Plan. Furthermore, Unum is both a party responsible for paying claims under the
Plan and an administrator of the plan, thus a conflict of interest exists in the decision-
making process.

WHEREFORE, premises considered Kimberly K. Bull respectfully requests this
Honorable Court for the following:

A. A declaration that Unum has breached its fiduciary duties, responsibilitiesJ
and obligations imposed upon it under ERISA.

B. A declaration that Kimberly K. Bull is disabled within the meaning of the Plan
and is entitled to long term disability benefits from the Plan.

C. Order Unum to pay Kimberly K. Bull back benefits due under the Plan.

D. Order Unum to pay prejudgment interest at the rate set by law on the

disability benefits wrongfully withheld from Kimberly K. Bull or, if the amount is greater,

Case 1:08-cV-00289-CLC-WBC Document 1-1 Filed 12/16/08 Page 4 of 17 Page|D #: 9

order Unum to pay her the amounts it has earned on the money wrongfully withheld from

her as other equitable relief

E. Order Unum to pay Kimberly K. Bull the costs of her suit and reasonable `

attorney fees.

F. Grant such other and further reliefto which Kimberly K. Bull is entitled.

ff
Respecrfuny submitted this §£_ day of zooe.

143an (BPR# 017339]
Attor y for the Plaintiff

McGehee, Stewart, Cole, Dupree & Roper, P.A.
709 Market Street

Knoxville, Tennessee 37902

(865] 281-8400

T ND

I acknowledge myself surety for all costs, taxes. and damages in this case in

accordance with Tenn. Code Ann. ' 20'12-120.

image BPR # 017339

McGehee, Stewart, Cole, Dupree & Roper, P.A.
709 Market Street

Knoxville, Tennessee 37902

{ess] 231-8400

Case 1:08-cV-00289-CLC-WBC Document 1-1 Filed 12/16/08 Page 5 of 17 Page|D #: 10

lN THE QHAN§ERY (_;OLJRT FOB_ HAIVHLTON QQL!NI Y, TENNESS§E

KIMBERLY K. BULL,
Plaintiff,

V. NO.ML

GROUP LONG TERM DISABILITY

PLAN FOR TFE. lNC., TFE, INC.,

and UNUM LlFE lNSURANCE

COMPANY OF AMERICA.
Defendants

\_JWW\_JW\_J\_J\_J\._J\_J

F lD

john B. Dupree, after first being duly sworn according to law, deposes and says as
follows:

1, l am the attorney of record for Kimberly K. Bull in the above-styled cause.

2. On November 18, 2008, i mailed, certified-return receipt requested a certified copy
of the original summons and a copy of the filed Complaint to the Defendants TFE, Inc. and
Group Long'l`erm Disability Plan for TFE, lnc.. Thereafter, I received the return receipt signed
by someone at their offices at 1114 Ridgecrest Avenue, North Augusta, South Carolina, 29841,
saying they have received the material referred to herein on November 2 1, 2008. The return
receipt is attached to this Affidavit as an exhibit hereto.

3. I fully complied With the provisions of Rules 4.03 and 4.04, Tennessee Rules ofCivil
Procedure, as it pertains to service by mail.

Further, affiant saith not.

 

]o upree

S orn to and subdscribed

\ l
l a GFML¢M§-§lffgd%

       

.
s*k

3
L<
{_.i
O
3
§
m.
.‘2.
O
,".'1
m
><
`E.
3 ,
m v
5
'5
\\\“““
luna
§ >§
9 '_ f
’\‘i {
'"N|nu\*“

%1@~§" 08 cat -s la n m

"
'lllul\\“ : v r. .)

Case 1:08-cV-00289-CLC-WBC Document 1-1 Filed 12/16/08 Page 6 of 17 Page|D #: 11

 
 

SENDER cOMP!_L-“TE TH)‘~; sECTiCJN COMPLETE mrs section oN DELWERV

l Completeftemsi.'Z.andS.Alsoaomp|ete A~Slgn§¢j,» :'A --
item 4 n nesmcced namely la deem - x '\]\h z \ A_ El went
l Print your name and address on the reverse /"d \f\ ,. \qu§§;,, \:l Acldreesea
so that we can return the card to you. p`,§ G_ 931 t n
l Attach this card to the back of the ma|lp|ece. E’jej:bw md ) l e o D'e my
or on the front if space permits ‘~"/ \Q A‘¢({ ' b m
D. isdetvmyad¢assdlnmemhomlwm1? Yea
A'“°'° Md'“”d ‘° irvEs. amer umw-ry address hamm Ei Nq

TFE lnc.. find Gr‘oo f-or\g
Tf'r'\ 'D\`€>Q.b l 'l'v|?l¢m wr£ _['F'E-l¢v_;l

fH(`Il g Ol$c.¢.£`¢£l'§ A\/€ ,

o
| \l

 

 

 

 

 

 

 

 

3.‘ loeType

 

 

 

 

 

' Certmod Maa Ei Exprm M ll
NN"H“ AM&“$+D~)SE' El seemed ja serum Ro;\pi forMemi-¢and\sa
),,'??f¢,L/.. ?@70 121 insured Mau EJ o.o.o.
4. restricted Delivsry'r rem Fee; g Yas
. mci N b
2 mm§a"$m°rmam _,___'_{_I;I_C_IB ____u_J_.__su moot ease mesa
g PS Form 3811, February 2004 Dornectic Flatum Reoaipt masssoe-M-\sw

08 D.";`-C “5 .il_i‘i 105 F.'_"F

L_ ¢'" vi 5 ;J
\- .j‘ -. ‘."~ (\,;.

Case 1:08-cV-00289-CLC-WBC ` Document 1-1 Filed 12/16/08 Page 7 of 17 Page|D #: 12

isliECElVED
. ab

IN THE CHAN RY CO RT FOR HAMILTON OUNTY TENNE SEM€?

 

KIMBERLY K. BULL,
Plaintiff,
v.

GROU`P LONG TERM DlSABlLlTY
PLA`N FUR TFE, INC.-.

TFE, lNC.,
and

UNUM LIFE INSURANCE CUMPANY
OF AMERICA

Defendants

TO THE DEFENDANT:

]
l
]
l
l NO.OLQ§I___
]
)
]
]
]
l
)
l
l
l
]
3
summons

You are hereby summoned and required to serve upon ]ohn B. Dupree, Plaintiff's attorney,

Whose address is McGehee, Stewart, Cole, Dupree & Roper, P.A., 709 Market Street, Knoxvil|e, TN

37902, an Answer to the Complaint herewith served upon you within thirty [30) days after service

of this Summons and Complaint, exclusive of the day of service. If you fail to do so, judgment by

default can be taken against you for the reli emanded in the Complaint.

issued and tested thisl_’l{!day

2008.

 

CL

DEP rI'Y LER

03 D':It ~5 inter ssi

Case 1:08-cV-00289-CLC-WBC Document 1-1 Filed 12/16/08 Page 8 of 17 Page|D #: 13

N T I C E
TO THE DEFENDANT:

Tennessee law provides a Four Thousand Dollar ($4,000.00] personal property exemption
from execution or seizure to satisfy a judgment lf a judgment should be entered against you in
this action and you wish to claim property as exempt, you must file a Written list, under oath, of
the items you wish to claim as exempt with the clerk of the court The list may be filed at any time
and may be changed by you thereafter as necessary; however, unless it is filed before the
judgment becomes final, it will not be effective as to any execution or garnishment issued prior to
the filing of the list Certain items are automatically exempt by law and do not need to be listed;
these include items of necessary wearing apparel for yourself and your family and trunks or other
receptacles necessary to contain such apparel, family portraits, the family bible, and school books.
Should any of these items be seized, you would have the right to recover them. If you do not
understand your exemption right or how to exercise it, you may wish to seek the counsel of a
lawyer.

S lC l T N
TO THE PROCESS SERVER: Defendant, Group hong Terrn Disability Plan for TFE, lnc. can be

served c/o Registered Agent for Service of Process through TFE, lnc.. 1114 Ridgecrest Avenue,
North Augusta, South Carolina 29841-3070

B_E_'[].!.BN

l received this Summons on the [Bf' day of ML 2009=
/‘*' lisa
Iher§)y certify and return that on the& day of ore 2003 i:

[V§erved this Summons an a Co plaint on De endant,
manner-. ‘ F - e fm

  
  

n he following

f L)‘.|‘Hr\)l¢\n£b( T'F`E`, /nc~..

 

[ ] failed to serve this Summons within thirty [30] days after its issuance because:

ffl n

 

PRERR

Case 1:08-cV-00289-CLC-WBC Document 1-1 Filed 12/16/08 Page 9 of 17 Page|D #: 14

iSRECElVED
- §§

]N !HE §BANQERY §;QQRT EQR l_~lAMlLTON CQU§TY, TENNE§§‘E§_B; § § EESSEBI'

KIMBERLY i<. BULL§ ]
Plaincirf, §
v- § No. oi_'?_`€`>_‘ll__
onouP tone TERM oisABrerY §
PLAN ron TFE, iNc., )
sam l
and §
UNuM tire INsURANcE coMPANY §
or AMERICA J
Defendants §
summons
To THE DEFENDANT;

You are hereby summoned and required to serve upon ]ohn B. Dupree, Plaintifi’s attorney,
whose address is McGehee, Stewart, Cole, Dupree & Roper, P.A., 709 Market Street, Knoxville, TN
37902, an Answer to the Complaint herewith served upon you Within thirty (30) days after service
of this Summons and Complaint, exclusive of the day of service If you fail to do so, judgment by
default can be taken against you for the relief demanded in the Complaint.

issued and tested this m day of 2008.

 

CLERK

DEPU CLE

08 l.l?"§C "5 .r`i.?'li[l= l` ii

Case 1:08-cv-00289-CLC-WBC Document 1-1 Filed 12/16/08 Page 10 of 17 Page|D #: 15

N 0 TI E
'I`O THE DEFENDANT:

Tennessee law provides a Four Thousand Dollar [$4,000.00] personal property exemption
from execution or seizure to satisfy a judgment if a judgment should be entered against you in
this action and you wish to claim property as exempt, you must file a written list, under oath, of
the items you wish to claim as exempt with the clerk of the court The list may be filed at any time
and may be changed by you thereafter as necessary; however, unless it is filed before the
judgment becomes final, it Will not be effective as to any execution or garnishment issued prior to
the filing of the list. Certain items are automatically exempt by law and do not need to be listed;
these include items of necessary wearing apparel for yourself and your family and trunks or other
receptacles necessary to contain such apparel, family portraits, the family bible, and school books.
Should any of these items be seized, you would have the right to recover them. lf you do not
understand your exemption right or how to exercise it, you may wish to seek the counsel of a
lawyer.

§ERY[§;§ INFOBMA! lOH

TO THE PROCESS SERVER: Defendant, TFE, lnc. can be served with process at TFE, lnc., 1114
Ridgecrest Avenue, North Augusta, South Carolina 29841-3070

BEIL[BB
Sl'¢~
l received this Summons on the ]_ day of 2006.
’r _
l hereby certify and return that on thel\$_ day of 2008, l:

served t is Summons and a Com laint on Defepd nt, F£ \'\C~ in the foll ing
a ner: inst § jg};]£¢;£ rgl;,fg~ a§g, §§ mg,§ PE§\;Q;E ch _PB ij

[ ] failed to serve this Summons within thirty [30] days after its issuance because:

 

 

J`l \

OCESS R

Case 1:08-cv-00289-CLC-WBC Document 1-1' Filed 12/16/08 Page 11 of 17 Page|D #: 16

 

STATE OF TENN ESSEE
DEPARTMENT OF COMMERCE AND INSURANCE
500 .}AMES ROBERTSON PARKWAY
NASHVILLE. TN 37243~1 131

December 2, 2008

Unum i_ife insurance Co. Of America CERTiFiED NiAiL

800 S. Gay Sireel, Ste 2021. % C T Corp. RETURN RECEIPT REQUESTED
Knoxviiie, TN 37929-9710 7008 1140 0002 5992 1694

NAiC # 62235 Caehier # 6386

Re: i<imberiy K. Bull V. Unum Life insurance Co. Of America
Dookei # 08~0891

To Whom it Niey Concem:

We are enclosing herewith a document that has been served on this department on your behalf in connection with
the above»etyled matter.

l hereby make oath that the attached Disability Comp|aint was served on me on November 24, 2008 by Kimberiy
K. Buli pursuant to Tenn. Code Ann. § 56-2-504 or § 56-2-506. A copy of this document is being sent to the
Chanoery Couri of i-lami|ion County. TN

Brenda C. Meade

Deeignaied Agent

Service of Process

Enciosures

cc: Chancery Court Cieri<
Hamiiton County

201 East Seventh Street, Rm 300
Chattanooga, Tn 37402

08 UEC ~ii iiiiU= ii
service of Process 615.532.5260 r" '*~--?"3.

is * ss

Case 1:08-cv-00289-CLC-WBC Document 1-1 Filed 12/16/08 Page 12 of 17 Page|D #: 17

§§RECF.WED
nw o s

n\i ma anNgEnY count ron HAMiLToN couN'rY, TENNEssYiE § Masl°\`

KIMBERLY i<. BULL, )
)
Plaintiff, )
l

v. ] No. QSs_~_o_‘i$Si_
)
GROUP LONG TERM DISABILITY )
PLAN FOR TFE, INC., ]
l
TFE, 1Nc., )
l
and ]
.` j l
UN"uM LIFE INSURANCE coMPANY )
or AMERicA )
)
Defendants. ]

5 jj M M o N §

TO THE DEFENDANT:

You are hereby summoned and required to serve upon john B. Dupree, Plaintiff’s attorney,
whose address is McGehee, Stewart, Cole, Dupree & Roper, P.A., 709 Market Street, l(noxville, 'l`N
37902, an Answer to the Complaint herewith served upon you within thirty (3 0] days after service
of this Summons and Complaint, exclusive of the day of service. if you fail to do so, judgment by
default can be taken against you for the reli emanded in the Complaint.

issued and tested this L'I_ day 008.

 

 

UB DEC -3 fail 0= i'f»

_ .1
.. .d’i-:':.r.a.:'a

Case 1:08-cv-00289-CLC-WBC Document 1-1 Filed 12/16/08 Page 13 of 17 Page|D #: 18

N Q 1 ig E
TO THE DEFENDANT:

Tennessee law provides a Four Thousand Dollar ($4,000.00] personal property exemption
from execution or seizure to satisfy a judgment if a judgment should be entered against you in
this action and you wish to claim property as exempt, you must file a written iist, under oathl of
the items you wish to claim as exempt with the clerk of the court. The list may be filed at any time
and may be changed by you thereafter as necessary; however, unless it is filed before the
judgment becomes final, it will not be effective as to any execution or garnishment issued prior to
the filing of the list. Certain items are automatically exempt by law and do not need to be iisted;
these include items of necessary wearing apparel for yourself and your family and trunks or other
receptacles necessary to contain such apparel, family portraits, the family biblel and school books.
Should any of these items be seized. you would have the right to recover them. If you do not
understand your exemption right or how to exercise it, you may wish to seek the counsel of a

lawyer.

ERV{ lNFO N
TO THE PROCESS SERVER: Defendant, UNUM PROVIDENT CORPORATION can be served c/o
Registered Agent for Service of Process through CT Corporation, 800 S. Gay Street, Suite 2021,
Knoxviiie, TN 37929.
RET

l received this Summons on the __ day of 2000.

 

i hereby certify and return that on the ____ day of , 2000, I:

[ ] served this Summons and a Compiaint on Defendant, , in the following
manner-.

 

 

[ j failed to serve this Summons within thirty (30] days after its issuance because:

 

 

 

PROCESS SERVER

Case 1:08-cv-00289-CLC-WBC Document 1-1 Filed 12/16/08 Page 14 of 17 Page|D #: 19

IN THE CHANCERY C()URT FOR HAMILTON COUNTY, TENNESSEE
KIMBERLY K. BULL,

Plaintiff,

v. No. 08-0891

GROUP LONG TERM DISABILITY
PLAN FOR TFE, INC.,

TFE, lnc.,

and

UNUM LIFE INSURANCE COMPANY
OF AMERICA

\../\_/\_/\._/\¢_/\¢_/\_/\_/\._/\._/\_/\-»/\_/\_/\_/\_/

Defendants
NOTICE OF REMOVAL

To:

Lee Akers, Cierk and Master
Chanoery Court, Hamiiton County, Tennessee

Notice is hereby given, pursuant to 28 U.S.C. §i446(d), that the Defendants in the above-
styied cause, without Waiving any defenses, have filed in the United States District Court for the
Eastern District of Tennessce, Southern Division, a Notioe of Rernoval, a copy of which is
attached hereto as Exhibit 1, seeking to remove this action to the United States District Court for
the Eastern District of Tennessee. Accordingly, pursuant to 23 U.S.C. §i446(d), this Court is
precluded from taking any further action With respect to this cause unless and until the same is

remanded by order of the United States District Court for the Eastern District of Tennessee.

5501519“1_00<:

Case 1:08-cv-00289-CLC-WBC Document 1-1 Filed 12/16/08 Page 15 of 17 Page|D #: 20

Respectfully submitted,

MILLER & MARTIN PLLC

©/SM/m/\

sT Williarns
.R. #16341
Stephanie R. Barnes
B.P.R. #25255
Suite 1000, Volunteer Building
832 Georgia Avenue
Chattanooga, Tennessee 37402
Telephone: (423) 756-6600
Facsirnile: (423) 785~8480
Attomeys for Unum Lg'fe Insurance Company of
Amerc`ca

Q/W/Q ©M/£M./t_.,

Howard B. Jackson/
B.P.R. #021316
WIMBERLY LAWSON SEALE WRIGHT &
DAVES, PLLC
550 Main Avenue, Suite 900
P.O. Box 2231
Knoxville, TN 37901-2231
Telephone: (865) 546-1000
Facsimile: (865) 546-1001
Attorneys for Group Long Term Disability Plan
For TFE, Inc. and TFE, Inc.

5501519_100€

Case 1:08-cV-00289-CLC-WBC Document 1-1 Filed 12/16/08 Page 16 of 17 Page|D #: 21

CERTIFICATE OF SERVICE

The undersigned hereby certifies that an exact copy of the foregoing pleading has been
served upon all counsel at interest in this case, by delivering a true and exact copy to the offices
of counsel of record shown at the addresses below, by placing a copy in the United States mail,

postage pre-paid.

John B. Dupree

McGehee, Stewart, Cole, Dupree & Roper, P.A.
709 Market Street

Knoxville, TN 37902

}'h
This fl day of Q/(/Md”f , 2008`

MILLER & MARTIN PLLC

By: gm :7 M/\

55015l9_l.DOC

Case 1:08-cV-OO289-CLC-WBC Document 1-1 Filed 12/16/08 Page 17 of 17 Page|D #: 22

